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                                  7                               UNITED STATES DISTRICT COURT
                                  8                           NORTHERN DISTRICT OF CALIFORNIA
                                  9
                                  10    LEGALZOOM.COM, INC.,
                                                                                       Case No.15-mc-80003-NC
                                  11                 Plaintiff,
                                                                                       TENTATIVE RULING ON MOTION
                                               v.
Northern District of California




                                  12                                                   TO COMPEL
 United States District Court




                                  13    ROCKET LAWYER, INC.,                           Re: Dkt. No. 1
                                  14                 Defendant.
                                  15
                                  16          Plaintiff LegalZoom moves to compel the production of documents subpoenaed
                                  17   from non-party Google Inc. under Federal Rule of Civil Procedure 45. A hearing on this
                                  18   matter is scheduled for tomorrow afternoon in front of this Court.
                                  19          A party issuing a subpoena “must take reasonable steps to avoid imposing undue
                                  20   burden or expense on a person subject to the subpoena.” Fed. R. Civ. P. 45(d)(1).
                                  21   Moreover, the Court must limit discovery if it determines that the burden or expense of the
                                  22   proposed discovery outweighs its likely benefit. Fed. R. Civ. P. 26(b)(2)(C).
                                  23          Here, the Court’s tentative view is to deny LegalZoom’s motion to compel because
                                  24   LegalZoom has not taken reasonable steps to avoid imposing undue burden, and has not
                                  25   established the proportionality of its requests. See Nalco Co. v. Turner Designs, Inc., No.
                                  26   13-cv-02727 NC, 2014 WL 1311571, at *1 (N.D. Cal. Mar. 31, 2014) (denying motion to
                                  27   compel because subpoenaing party failed to take reasonable steps to avoid imposing undue
                                  28   burden) (citing Fed. R. Civ. P. 45(d)(1)); see also In re NCAA Student-Athlete Name &
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                                  1    Likeness Licensing Litig., No. 09-cv-01967 CW (NC), 2012 WL 629225, at *1 (N.D. Cal.
                                  2    Feb. 27, 2012) (“[B]ecause antitrust plaintiffs did not make reasonable attempts to avoid
                                  3    imposing an undue burden on the nonparties, sanctions against antitrust plaintiffs are
                                  4    warranted under Rule 45.”); Convolve, Inc. v. Dell, Inc., No. 10-cv-80071 WHA, 2011 WL
                                  5    1766486, at *2 (N.D. Cal. May 9, 2011) (quashing subpoena and noting exhaustive
                                  6    definitions to words such as “documents” and “identify” serve to further broaden the scope
                                  7    of the subpoena unnecessarily).
                                  8    IT IS SO ORDERED.
                                  9    Dated: February 24, 2015                  _____________________________________
                                                                                   NATHANAEL M. COUSINS
                                  10                                               United States Magistrate Judge
                                  11
Northern District of California




                                  12
 United States District Court




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